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1    JOHN R. DUREE, JR. INC
     A Professional Corporation
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     State Bar No. 65684
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     Sacramento, California 95814
4    Telephone: (916) 441-0562
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6    Attorney for Defendant
     VALERI MYSIN
7

8
                            IN THE UNITED STATES DISTRICT COURT
9
                         FOR THE EASTERN DISTRICT OF CALIFORNIA
10

11   UNITED STATES OF AMERICA,          )                 2:11-CR-00427 TLN
                                        )
12                           Plaintiff, )                 STIPULATION AND ORDER
                                        )                 TO CONTINUE JUDGMENT
13   v.                                 )                 AND SENTENCING
14
                                        )
                                        )
15   VALERI MYSIN,                      )
                                        )
16                           Defendant. )
     __________________________________ )
17

18                                           STIPULATION
19
            Plaintiff, United States of America, by and through its counsel, Assistant United States
20
     Attorney Jarod C. Dolan and defendant, Valeri Mysin, by and through his counsel, John R.
21
     Duree, Jr., agree and stipulate to vacate the date set for judgment and sentencing, February 16,
22
     2017 at 9:30 a.m., in the above-captioned matter, and to continue the judgment and sentencing to
23
     April 27, 2017 at 9:30 a.m. in the courtroom of the Honorable Troy L. Nunley. Probation
24

25
     officer, Carol Chavez also agrees to this change.

26          The reason for the continuance is that the parties anticipate further cooperation by

27   defendant Valeri Mysin.

28          Accordingly, the parties respectfully request the Court adopt this proposed stipulation.

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1
     IT IS SO STIPULATED
2
     Dated: February 13, 2017                           PHILLIP A. TALBERT
3                                                       Acting United States Attorney
4                                                By:     /s/ Jared C. Dolan
5
                                                        JARED C. DOLAN
                                                        Assistant United States Attorney
6
     Dated: February 13, 2017                            /s/ John R. Duree, Jr.
7                                                       JOHN R. DUREE, JR.
                                                        Attorney for Defendant
8                                                       VALERI MYSIN

9

10                                              ORDER

11          For the reasons set forth in the accompanying stipulation, the judgment and sentencing
12   date of February 16, 2017 at 9:30 a.m. is VACATED and the above-captioned matter is set for
13   judgment and sentencing on April 27, 2017 at 9:30 a.m.
14   IT IS SO ORDERED.
15
     Dated: February 14, 2017
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17                                                      Troy L. Nunley
                                                        United States District Judge
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